        IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF MISSOURI
                      WESTERN DIVISION

UNITED STATES OF AMERICA,           )
                                    )
                Plaintiff,          )
                                    )
          v.                        ) Criminal Action No.
                                    ) 05-00344-01/2-CR-W-ODS
GARY EYE and                        )
STEVEN SANDSTROM,                   )
                                    )
                Defendants.         )

              REPORT AND RECOMMENDATION TO DENY
   DEFENDANTS’ MOTION TO SUPPRESS TELEPHONE CONVERSATIONS

     Before the court is defendant Gary Eye’s motion to

suppress telephone conversations which were taped during his

incarceration at the Jackson County Detention Center on the

grounds that the taping was done without defendant’s

knowledge and consent, and was done in violation of the

federal wiretap statute, The Electronic Communications

Privacy Act (“the Act”), 18 U.S.C. §§ 2510-2522.            Defendant

Sandstrom joined in Eye’s motion.        I find that defendants

were repeatedly warned that their calls could be monitored,

the evidence establishes (and they admitted) they knew the

calls could be monitored, they used the telephones despite

that knowledge, and therefore they impliedly consented to

the recording of their calls.     Therefore, defendants’ motion

to suppress should be denied.




 Case 4:05-cr-00344-DGK   Document 183    Filed 09/05/06   Page 1 of 26
I.   BACKGROUND

     On May 17, 2006, a superseding indictment was returned

charging both defendants with two counts of interference

with federally protected activities, in violation of 18

U.S.C. § 245(b)(2)(B); one count of using or discharging a

firearm during a crime of violence, in violation of 18

U.S.C. § 924(c)(1)(A)(iii); two counts of using or

discharging a firearm during a crime of violence causing

murder, in violation of 18 U.S.C. §§ 924(c)(1)(A)(iii) and

(j)(1); one count of tampering with a witness, in violation

of 18 U.S.C. §§ 1512(a)(1)(C) and (a)(3)(A); one count of

obstruction of justice, in violation of 18 U.S.C. § 1519;

and one count of using fire to commit a felony, in violation

of 18 U.S.C. § 844(h)(1).     In addition, defendant Sandstrom

is charged with one count of threatening to retaliate

against a federal witness, in violation of 18 U.S.C. §

1513(b)(2).

     Defendant Eye filed the instant motion to suppress

telephone conversations (document number 33), arguing that

the recorded conversations were made without his knowledge

or consent.   Defendant Sandstrom requested leave to join in

this motion (document number 43), and his request was

granted (document number 44).

                                 2




 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 2 of 26
     In its response (document number 37), the government

argues that all inmates using a phone at the Jackson County

Detention Center are informed that the call is subject to

monitoring and recording, and that the law enforcement

exception applies in this case.

     The suppression hearing was held in two parts.            After

the first suppression hearing, the government uncovered

additional information relevant to the issue and asked that

the hearing be reopened.     “1Tr.” refers to the transcript of

the first suppression hearing, and “2Tr.” refers to the

transcript of the second suppression hearing.

     During the hearings, defendant Eye was represented by

John Osgood; defendant Sandstrom was represented by John

Gromowsky; and the United States was represented by

Assistant United States Attorneys Michael Green, Michael

Hunt, and David Ketchmark.

     The following witnesses testified:

     1.   Major James McCoy, Jackson County Department of
          Corrections, Manager of Detention Services.

     2.   Special Agent Heith Janke, Federal Bureau of
          Investigation.

     3.   Defendant Gary Eye.

     4.   Defendant Steven Sandstrom.



                                 3




 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 3 of 26
   5.    Sheila Rafferty, Program Project Manager for
         Sprint.

   In addition, the following exhibits were admitted:

   P. Ex. 1    Picture of telephone in the inmate living
               area of unit 7A.

   P. Ex. 2    White instruction paper that is on the
               telephone in the detention center.

   P. Ex. 3    Stipulation that each inmate call is
               recorded, at the beginning of all calls
               placed by inmates there is a recorded voice
               stating “Hello, this is a collect call from
               (inmate’s name), this call is subject to
               monitoring and recording. No third-party
               calls are allowed, thank you for using
               Sprint.” Throughout each call, approximately
               every three minutes the following recording
               is played, “This call is from an inmate at
               the Jackson County Detention Center.”
               Inmates entering the detention facility are
               not asked or required to sign an explicit
               consent form acknowledging that calls are
               recorded.

   P. Ex. 4    Computer printout of defendant Sandstrom’s
               housing history for the Jackson County
               Detention Center.

   P. Ex. 5    Computer printout of defendant Eye’s housing
               history for the Jackson County Detention
               Center.

   P. Ex. 6    Updated computer printout of defendant
               Sandstrom’s housing history for the Jackson
               County Detention Center.

   P. Ex. 7    Updated computer printout of defendant Eye’s
               housing history for the Jackson County
               Detention Center.




                                4




Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 4 of 26
      P. Ex. 8   Printout provided by Sprint in response to
                 subpoena, showing calls, dates, and times,
                 and which phone in the facility generated the
                 call.

      P. Ex. 9   CD of phone calls from detention center.

      P. Ex. 10 CD of phone calls from detention center.

      P. Ex. 11 CD of phone calls from detention center.

      P. Ex. 12 Pictures of phones in the intake area of the
                Jackson County Detention Center.

      P. Ex. 13 Example of one of the phones in the detention
                facility.

      P. Ex. 14 Partial transcript of telephone conversation.

      P. Ex. 15 Partial transcript of telephone conversation.

      P. Ex. 16 Partial transcript of telephone conversation.

      P. Ex. 17 Partial transcript of telephone conversation.

      D. Ex. 1   Demonstrative Jackson County Detention Center
                 phone log.

II.   FINDINGS OF FACT

      On the basis of the evidence presented during the

hearings, I make the following findings of fact:

      1.   About 75 percent of the inmate population at the

Jackson County Detention Center (hereinafter referred to as

“detention center”) are pretrial detainees (1Tr. at 5).

When a new inmate is brought to the detention center, he is

searched and then taken to the booking counter where any

medical issues are determined and the inmate’s picture is

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 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 5 of 26
taken (2Tr. at 15-16, 22).     A bar code is printed with a

wristband, and then the inmate is allowed to go into open

seating where he has access to the phone and a television

(2Tr. at 16, 24).    Sack lunches are provided, and the inmate

has access to the restroom (2Tr. at 16).        The goal of the

detention center is to get the inmate processed through

intake within 180 minutes (1Tr. at 16, 24).         The inmate is

taken to the booking counter and advised of the charges,

then he is taken to the dressing area if he does not make

bond where his personal property is inventoried and he is

given jail issue clothing (2Tr. at 16).        The inmate is taken

to the classification unit where he is screened for housing,

and then he is transported to housing (2Tr. at 16).

     2.   The detention center has 52 separate housing

units, and each unit has at least two telephones in the main

area (1Tr. at 6).    There are a total of more than 150 phones

for inmates’ use (1Tr. at 25).       These phones are for the

inmates’ personal use to contact family, friends, and

attorneys (1Tr. at 6).     There are approximately 750 inmates

in the detention center (1Tr. at 25).




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 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 6 of 26
     3.    The current phone system in the detention center

has the capability of monitoring and recording1 telephone

calls (1Tr. at 6).    Prior to the change in systems in 1996,

inmates were abusing the system and using the phones to

contact and threaten witnesses and were creating a nuisance

to the public (1Tr. at 7).     The new system announces to the

person called and to the inmate making the call that the

call is from the Department of Corrections, the conversation

would be recorded, and the conversation was subject to being

monitored and recorded (1Tr. at 7).       The calls are collect

and the person called must accept the charges (1Tr. at 7).

In addition, the detention center uses the phone system to

confront inmates about complaints due to phone calls (1Tr.

at 7-8).

     4.    The purpose of the system of recording inmate

telephone calls is simply to have the ability to investigate

any complaints of harassment by the public involving an

inmate (1Tr. at 34).      The recorded conversations are never

monitored by detention center personnel or even listened to

unless someone reports that harassing phone calls have been


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      The detention center can exclude certain numbers from
being recorded upon request (2Tr. at 38). For example, calls
to the Public Defender’s number are not recorded (2Tr. at
38).

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 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 7 of 26
coming from an inmate (1Tr. at 34).       Sprint employees

occasionally monitor phone calls in order to make sure the

system is running properly (2Tr. at 39).        If a Sprint

employee hears something of concern while monitoring the

inmates’ calls, the employee will notify authorities (2Tr.

at 39).

     5.   The recordings of calls are also used to respond

to subpoenas (1Tr. at 33).     The only way to retrieve any

recorded calls is by having the number to which the call was

placed (1Tr. at 35).      If someone requested all calls made by

a specific inmate, that could not be done unless someone

were to listen to every call made from the pod where the

inmate was housed and sort out the calls where the person

identified himself on the recording (1Tr. at 35, 39, 40).

The detention center will not honor a subpoena with a name,

the center requires a phone number to perform a search for

recorded calls (1Tr. at 40).

     6.   The telephones in the detention center have a

laminated piece of paper on the front which contains

instructions for operating the phone (1Tr. at 9-10; P. Ex.

1; P. Ex. 2).   The instructions are in English and in

Spanish (1Tr. at 11; P. Ex. 2).      These instructions are on



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 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 8 of 26
all phones used by inmates in the detention facility (1Tr.

at 10).   The instructions read as follows:

     All calls are collect calls. Press 1 for English.
     Press 2 for Spanish. Dial area code plus number.
     After the beep, state your name. Processing call
     may take up to 25 seconds. Calls are subject to
     monitoring and recording. No three-way phone
     calls allowed.
(1Tr. at 11; P. Ex. 2).

     7.    When an inmate uses a telephone, the instructions

for using the phone are heard by the inmate, and there is a

warning that calls are subject to monitoring and recording

(1Tr. at 11; 2Tr. at 36).     The person receiving the call

also gets that message (1Tr. at 11-12; 2Tr. at 36).

     8.    The recordings were designed to discourage inmates

from abusing the phone system and threatening witnesses

(1Tr. at 18).   The system is capable of and records every

telephone call, unless the number called has been excluded

(see footnote 1) (1Tr. at 18).       The calls are not monitored

by jail personnel2, but every call is recorded by a computer

system (1Tr. at 20, 25, 29, 33).         The recorded calls are not

listened to by jail employees unless there is an incident


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      The only exception is when a staff person receives a
call from an inmate phone (1Tr. at 33). In that instance,
the system prints out a notification that a staff member
received a prisoner call so that the staff can investigate
(1Tr. at 33).

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 Case 4:05-cr-00344-DGK   Document 183     Filed 09/05/06   Page 9 of 26
that requires it (1Tr. at 20).        If a request is made, a

particular phone number must be provided and that number is

searched (1Tr. at 26).     No other calls are pulled up besides

calls to that particular phone number (1Tr. at 26).

Occasionally due to computer glitches, calls will not be

recorded, but the jail staff does not know that until a

request is made and the calls are reviewed (1Tr. at 27).

      9.    If an inmate needs to make a call to a person or

agency who will not accept a collect call, the inmate can

get permission from a staff person or case manager to use a

staff phone (1Tr. at 12).

      10.   The staff person will take the inmate to an office

and allow the inmate to make the call once the call is

verified (1Tr. at 12).     The staff person must stay in the

room during the call because the inmate is in an office and

there is other information around about other inmates (1Tr.

at 26).

      11.   Defendant Eye and Defendant Sandstrom were inmates

at the detention center during a portion of 2005 (1Tr. at

8).   The records initially showed that defendant Eye was in

the detention facility from March 24, 2005, through October

12, 2005, and that defendant Sandstrom was in the detention

facility from April 13, 2005, through October 12, 2005 (1Tr.

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 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 10 of 26
at 13-14; 2Tr. at 7; P. Ex. 4; P. Ex. 5).          However,

additional records showed that Sandstrom was admitted into

the facility on March 18, 2005 at 1:10 a.m. and booked into

the institution at 1:46 a.m. (2Tr. at 9).          Sandstrom was

taken to intake Housing Unit 3B at 3:25 a.m. (2Tr. at 10).

Defendant Eye was admitted into the facility on March 16,

2005, at 1524 hours, or 3:24 p.m., and was booked at 1624,

or 4:27 p.m. (2Tr. at 11).      Defendant Eye was taken to

Housing Unit 3B (2Tr. at 11).         There are four phones in the

intake area for inmates and two phones in 3B module for

inmates (2Tr. at 12, 24).      Inmates are allowed to use the

phones in intake to try to make bond or get out of custody

(2Tr. at 14).    The phones in intake are free, but the phones

in the general housing areas are collect calls only (2Tr. at

14, 32).   All of the phones have the printed warning about

calls being subject to monitoring and recording; and

although that printed warning also states calls are collect,

inmates in the intake area are told that local calls are

free (2Tr. at 25).    The phones in intake have a ten-minute

time limit, and the other phones have a 30-minute limit

(2Tr. at 32).

     12.   The recordings that were produced by the detention

center in response to a grand jury subpoena were not made at

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 Case 4:05-cr-00344-DGK   Document 183    Filed 09/05/06   Page 11 of 26
the request of the government (1Tr. at 30).           They were made

in accordance with the above-described procedure for

recording inmate calls.

       13.     FBI Special Agent Heith Janke served a subpoena on

the Jackson County Detention Center in connection with this

case (1Tr. at 46).      The FBI obtained the telephone numbers

listed in the subpoena through its investigation, including

interviewing witnesses, and the request was made for phone

calls to those numbers beginning on March 9, 2005 (1Tr. at

47, 48).      The detention center responded by producing

numerous CDs containing telephone calls with the numbers

that had been requested in the subpoena (1Tr. at 46).              The

CDs contained approximately 311 telephone calls (1Tr. at

47).       At the time of the first suppression hearing, Special

Agent Janke had listened to approximately 50%3 of the calls

on the CDs (1Tr. at 47, 49; 2Tr. at 70).          About 15 of those

calls were made by defendant Eye, and a great majority of

the calls were made by defendant Sandstrom (1Tr. at 47-48).

Fourteen of the 15 calls made by defendant Eye were made on




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      Special Agent Janke testified that he had not yet
listened to them all because each phone call is about 30
minutes long and it is taking some time to review them all
(1Tr. at 50).

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 Case 4:05-cr-00344-DGK    Document 183   Filed 09/05/06   Page 12 of 26
March 16, 2005, and the last one was made on September 24,

2005 (1Tr. at 48).

     14.   Every call that Special Agent Janke had listened

to at the time of the first suppression hearing contained

the recorded warning outlined in P. Ex. 3, that is, “Hello,

this is a collect call from (inmate’s name), this call is

subject to monitoring and recording.        No third-party calls

are allowed, thank you for using Sprint.” (1Tr. at 49, 53;

2Tr. at 70; P. Ex. 3).     However, it was subsequently learned

that due to a problem with the recording system, some calls

during March and April 2005 were recorded without the voice

warning at the beginning telling the inmate and the

recipient of the call that the call was subject to

monitoring and recording (2Tr. at 36, 38).          The phones with

that problem were located in intake and in 3-B (2Tr. at 36).

The “glitch” was discovered by Sheila Rafferty, Program

Project Manager for Sprint, when she was checking all the

phones as part of her duties of maintaining the phone and

recording system (2Tr. at 37).

     15.   Additionally, Special Agent Janke continued to

listen to the conversations that were produced in response

to the subpoena, and he discovered some conversations that

did not have the verbal warning at the beginning (2Tr. at

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 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 13 of 26
71).       Special Agent Janke counted the conversations with and

without the preamble and discovered that 45 CDs do have the

preamble and 12 CDs do not have the preamble on any of the

conversations involving the defendants4 (2Tr. at 74, 90).

       16.     Of the conversations without the preamble,

defendant Gary Eye was involved in 14 calls, and defendant

Steven Sandstrom was involved in 30 of the calls (2Tr. at

76).       In certain of those calls which did not contain the

preamble about the call being subject to monitoring and

recording, Special Agent Janke believes the defendants

talked as though they believed they were being monitored and

recorded (2Tr. at 91).      For example, in one conversation

defendant Eye is talking to defendant Steven Sandstrom:

       GE5: I already went through my 20. It’s all bad. It’s
            all good. They didn’t charge me with shit. I’m
            only here for an absconder, but they’re asking for
            someone named -- some dude named Stevie, asking
            for some dude named Vince and

       SS:     What do they want Stevie for?


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      There are 21 CDs that predate the homicide at issue in
this case, and Special Agent Janke has not yet listened to
those (2Tr. at 74). Those conversations were not requested
in the subpoena because they were outside the date
restrictions in the subpoena, and the government has no
interest in those conversations (2Tr. at 74, 87).
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      The initials in the cited portions of the transcripts
are the initials of the speaker, GE being Gary Eye, SS being
Steven Sandstrom, etc.

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 Case 4:05-cr-00344-DGK    Document 183   Filed 09/05/06   Page 14 of 26
(2Tr. at 96; P. Ex. 16).

     17.   Special Agent Janke believes that because Steven

Sandstrom referred to himself in the third person, and

because Eye knew he was talking to “Stevie”, the two

defendants were talking in code because they knew they were

being recorded (2Tr. at 96-97; 101-102).

     18.   Another example is a conversation between

defendant Gary Eye and Regennia Rios:

     RR:   What you think you’re gonna do?        Six months set
           back?

     GE:   I don’t know. I hope not. I’m gonna try to
           [unintelligible], so I can run.

     RR:   Hmm. You’re silly, why would you say that on the
           phone (unintelligible).

     GE:   Fuck the man.

(2Tr. at 98; P. Ex. 16).

     19.   Special Agent Janke believes that Ms. Rios’s

reference to saying things on the telephone means that she

knows the call is being recorded, and defendant’s comment

“Fuck the man” implies that he knows he is being recorded

but does not care (2Tr. at 98).

     20.   Another conversation between defendant Eye and

Regennia Rios went as follows:




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 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 15 of 26
     GE:   [G]uess whose picture they showed me? You know
           that old boy we picked up that one night? From 2
           Os? We all went all the way out to that store and
           in the restroom and shit?

     RR:   Yeah.

     GE:   Don’t say his name.        But yeah.

(P. Ex. 15).

     21.   Although this call did not have the preamble

warning of the possibility of monitoring and recording,

defendant instructed Ms. Rios not to use the person’s name

and then went on to try to describe the person without using

his name, because Ms. Rios could not figure out who

defendant was talking about.

     22.   During a conversation between defendant Sandstrom

and Kristina Chirino that did not have the preamble, the

following was said by Sandstrom:         “It, it could be one of

two things and don’t say nothing on this phone because they

are listening to it.” (2Tr. at 107; P. Ex. 14).

     23.   Defendant Eye dropped out of school in seventh

grade, and obtained his GED in 2003 (1Tr. at 55).             He is

able to read and write (1Tr. at 56).         Defendant was able to

read the sign on the phone in the detention center, and in

fact he did read the sign (1Tr. at 56-58; P. Ex. 1).             He

also heard the recording at the beginning of phone calls


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 Case 4:05-cr-00344-DGK   Document 183    Filed 09/05/06   Page 16 of 26
stating that the call was subject to being monitored and

recorded (1Tr. at 62).     Defendant never signed anything

saying his phone calls would be recorded (1Tr. at 58).             He

believed calls being “subject to” recording meant that they

“might” be recorded (1Tr. at 58, 61).

     24.   Defendant Sandstrom dropped out of school in

seventh grade, but he can read (1Tr. at 65, 68).           Sandstrom

read the printed instructions and warning on the phones he

used at the detention center (1Tr. at 65-66, 68-69).            He

also heard the recording before some phone calls warning

that the call was subject to being recorded and monitored

(1Tr. at 69).    His understanding of the policy of recording

phone calls was that certain calls would be monitored if

officials had a reason (1Tr. at 66).        He did not believe his

telephone calls were being recorded (1Tr. at 66, 67).

Sandstrom did not give anyone permission to record his

telephone calls (1Tr. at 66).

III. PROPRIETY OF TELEPHONE RECORDINGS

     Defendants argue that the detention center’s recording

their telephone calls violates the Electronic Communications

Privacy Act on the ground that the warning on the telephones

(both written and oral) states that the calls were “subject



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 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 17 of 26
to” recording and not that all of the calls “would be”

recorded.6

     The Electronic Communications Privacy Act (“the Act”),

18 U.S.C. §§ 2510-2522, generally prohibits the recording of

wire communications without a warrant and prohibits

admission of those recordings into evidence unless a

specific exception to the Act applies.         The Act clearly

applies to prison monitoring.         United States v. Horr, 963

F.2d 1124 (8th Cir.), cert. denied, 506 U.S. 848 (1992);

United States v. Amen, 831 F.2d 373, 378 (2nd Cir. 1987),

cert. denied, 485 U.S. 1021 (1988).

     One exception to the Act provides that it is not

unlawful for law enforcement officials to intercept a wire,

oral, or electronic communication where one of the parties

to the communication has given prior consent to the

interception.    18 U.S.C. § 2511(2)(c).       The legislative

history shows that Congress intended the consent requirement

to be construed broadly.     The Senate Report specifically

says in relation to § 2511(2)(c):        “Consent may be expressed


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      Defendants’ attorneys argued this point during the
hearing; and in the motion to suppress, defendants state
that “consent cannot be inferred simply because someone at
the Detention Center might have told defendant that they
might monitor the phone, but not that they were in fact
doing so.” (p. 3).

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 Case 4:05-cr-00344-DGK   Document 183    Filed 09/05/06   Page 18 of 26
or implied.   Surveillance devices in banks or apartment

houses for institutional or personal protection would be

impliedly consented to.”     S. Rep. No. 1097, 90th Cong., 2d

Sess., reprinted in 1968 U.S. Code Cong. & Admin.             News

2112, 2182.

     “It is generally accepted that a prisoner who places a

call from an institutional phone with knowledge that the

call is subject to being recorded has impliedly consented to

the recording.”    United States v. Faulkner, 439 F.3d 1221,

1224 (10th Cir. 2006).     When an inmate has repeatedly

received notice that calls placed on prison telephones are

subject to surveillance, the evidence indicates that he is

in fact aware of the monitoring program, and he nevertheless

uses the telephones, by that use he impliedly consents to be

monitored for purposes of the Act.        United States v.

Workman,   80 F.3d 688 (2nd Cir. 1996).

     In United States v. Workman, one of the defendants,

Donald Green, challenged the admission of conversations

recorded from a prison phone.         In that case, a sign, written

in English and Spanish, notifying inmates of the monitoring

program was placed near each telephone in the prison.              The

warning read:



                                 19




 Case 4:05-cr-00344-DGK   Document 183    Filed 09/05/06   Page 19 of 26
                           NOTICE
     ALL INMATE TELEPHONE CONVERSATIONS ARE SUBJECT TO
      ELECTRONIC MONITORING BY DEPARTMENTAL PERSONNEL.

     One week after arriving at the institution, Green was

given a handbook which included a discussion of the

telephone policy.    In affirming the district court’s denial

of Green’s motion to suppress, the court of appeals stated,

“Furthermore, Green’s statements on the recordings show that

he was successfully informed by the prison’s notification

program.   On many of the tapes, Green warned his

interlocutors that the call might be monitored, and he

sometimes used coded language in an apparent effort to

mislead authorities who might be listening.”          The court went

on as follows:

     Green argues that the notice he received was
     insufficient. In particular, he claims that--unlike the
     federal prison inmates in Willoughby and Amen--he was
     told of New York’s prison telephone monitoring program,
     but never expressly informed either that his use of the
     telephones would constitute consent to the
     surveillance, or that the monitoring could include
     recording of his conversations.

     Green’s argument misunderstands the reasoning of Amen
     and Willoughby. Nothing in those cases turned on
     whether the prisoner was specifically told that use of
     the telephones constituted consent. Rather, we inferred
     consent from circumstances indicating that the prisoner
     used the telephone with awareness of the possible
     surveillance. See Amen, 831 F.2d at 378. “The
     legislative history [of Title III] shows that Congress
     intended the consent requirement to be construed


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 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 20 of 26
     broadly.” Id.; see S.Rep. No. 1097, 90th Cong., 2d
     Sess., reprinted in 1968 U.S.C.C.A.N. 2112, 2182. When
     an inmate has repeatedly received notice that calls
     placed on prison telephones are subject to
     surveillance, the evidence indicates that he is in fact
     aware of the monitoring program, and he nevertheless
     uses the telephones, by that use he impliedly consents
     to be monitored for purposes of Title III. See 831 F.2d
     at 379 (where “defendants had notice of the inter-
     ception system . . . their use of the telephones . . .
     constituted implied consent to the monitoring”).

     Green points out that neither the sign near the
     telephone nor the inmate handbook provided to him
     expressly stated that the monitoring program might
     include recording. That is of no importance. Recording
     is simply one way of preserving the information gained
     from the electronic monitoring. The prison need no more
     have provided notice that it would record the
     intercepted conversations than that it might maintain
     shorthand notes.

United States v. Workman, 80 F.3d at 693-94 (emphasis

added).   That court, as mentioned above, made no distinction

between a warning that calls were “subject to” monitoring

and a warning that all calls “would be” monitored.

     Other courts have overwhelmingly denied the suppression

of conversations recorded on prison phones when the evidence

establishes that the prisoner was aware that the call could

be monitored.    In United States v. Hammond, 286 F.3d 189,

192 (4th Cir.), cert. denied, 537 U.S. 900 (2002), the court

stated, “We conclude that the ‘consent’ exception applies to

prison inmates, such as Hammond, required to permit

monitoring as a condition of using prison telephones.”

                                 21




 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 21 of 26
     In United States v. Willoughby, 860 F.2d 15, 19-20 (2d

Cir. 1988), cert. denied, 488 U.S. 1033 (1989), the court

held that notification at an orientation lecture and signs

near the telephones stating, “The Bureau of Prisons reserves

the authority to monitor conversations on this telephone.

Your use of institutional telephones constitutes consent to

this monitoring” was sufficient to justify the inference of

consent by prisoners who used the phones.         In that case, the

inmate also expressly agreed to be monitored by signing a

consent form; however, the court made clear that use of the

telephones in any event constituted implied consent, given

the orientation lecture and the notification sign near the

telephone.   The form signed by the inmates, just like the

warning posted by the telephones, stated that the prison

reserved the right to monitor phone calls.          It did not state

that the prison would record all phone calls.

     In United States v. Moore, 452 F.3d 382 (5th Cir.

2006), the court of appeals held that the defendant had

impliedly consented to his calls from a prison phone being

recorded.    The following warning was posted at all prison

phones:

     Notice: The Bureau of Prisons to Inmates. Telephone
     Regulations. All conversations on this phone are
     subject to monitoring. Your use of this telephone

                                 22




 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 22 of 26
     constitutes consent to this monitoring. You must
     contact the unit team to request an unmonitored
     attorney call.

Id. at 387 n.3.

     In that case, although the warning was that the

conversations were “subject to monitoring”, the court found

that the Bureau of Prisons “sufficiently notified Moore that

his phone calls were subject to surveillance and recording”

and therefore denied his motion to suppress.          The court made

no distinction between the “subject to” wording and the fact

that all calls were recorded; nor did the court make a

distinction between the warning that calls were subject to

being monitored when in fact the calls were recorded.

     See also United States v. Footman, 215 F.3d 145, 154

(1st Cir. 2000); United States v. Van Poyck, 77 F.3d 285,

292 (9th Cir. 1996) United States v. Horr, 963 F.2d 1124,

1126 (8th Cir. 1992); United States v. Amen, 831 F.2d 373,

378 (2nd Cir. 1987), cert. denied, 485 U.S. 1021 (1988).

     In this case, the undisputed evidence establishes that

(1) every phone in the detention center had a warning

attached to it stating that calls made from that phone were

subject to monitoring and recording; (2) almost every call

which the government plans to use in evidence was preceded

by a voice recording warning the defendants and the person

                                 23




 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 23 of 26
they called that the call was subject to monitoring and

recording; (3) both defendants testified that they read the

warnings attached to the phones and knew that the calls were

subject to monitoring and recording; (4) defendant Eye, in a

conversation without the recorded warning, was talking to

Regennia Rios and told her not to say the name of a person

they were talking about, clearly establishing that he knew

his call was being monitored or recorded; (5) rather than

saying the person’s name on a call that did not have the

recorded warning, defendant Eye spent considerable time

describing the person to Ms. Rios who, at first, did not

know the person Eye was talking about, again establishing

that he knew he was being monitored or recorded; and (6)

when defendant Sandstrom was on a call without the recorded

warning, he instructed Kristina Chirino not to say anything

on the phone because “they” were listening to it, clearly

establishing he knew the call would be monitored or

recorded.

     Because defendants were repeatedly warned that the

calls were subject to monitoring, through verbal warnings at

the beginning of almost every phone call and through the

written warnings attached to every prison phone; and because

the evidence clearly shows that both defendants knew their

                                 24




 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 24 of 26
calls were subject to being monitored; and because despite

that knowledge, they chose to use the prison phones, I find

that both defendants impliedly consented to the monitoring

and recording of their calls, and therefore the recording of

these calls did not violate the Electronic Communications

Privacy Act.

     Defendants’ argument that they believed “subject to”

meant their calls “might be” monitored is without merit.

Defendants have offered no case wherein a prisoner was told

his calls were subject to being monitored but where a court

held that was not sufficient to find implied consent, and I

have been able to find none.      Defense counsel argued at the

suppression hearing that people speeding, taking the chance

that they will be caught by an officer, but knowing they may

not be caught, is what defendants did in this case -- took

the chance that their calls would not be monitored since

they were only “subject to” being monitored.          Aside from the

fact that defendants’ argument is wholly unsupported by the

law, I also note that speeding is against the law, whether

one is caught or not.     If one is caught speeding, he can

hardly argue he should not be punished because he took the

chance he would not be caught.        Such is defendant’s argument

here, and it is not the least bit persuasive.

                                 25




 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 25 of 26
      Because defendants knew their calls could be monitored

and used the prison phones despite that knowledge,

defendants impliedly consented to the monitoring and

recording of their calls.      Therefore, defendants’ motion

based on their unsupported argument that the “subject to”

language nullifies implied consent should be denied.

IV.   CONCLUSION

      On the basis of the above-stated findings of fact and

the law as discussed in section III, I find that defendants

impliedly consented to the recording of their telephone

conversations and therefore the recording did not violate

the Electronic Communications Privacy Act.          Therefore, it is

      RECOMMENDED that the court, after making an independent

review of the record and the applicable law, enter an order

denying defendants’ motion to suppress recorded telephone

conversations.

      Counsel are advised that, pursuant to 28 U.S.C. §

636(b)(1), each has ten days from the date of receipt of a

copy of this report and recommendation to file and serve

specific objections.



                                  ROBERT E. LARSEN
                                  United States Magistrate Judge
Kansas City, Missouri
September 5, 2006

                                 26



 Case 4:05-cr-00344-DGK   Document 183   Filed 09/05/06   Page 26 of 26
